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sTP's_Saint"'rhomas- Phy'sician Services . 300 20th Ave N, NASHV\LLE TN 37203-2131
COBB|NS, SYLVlA D (id #35731, dOb! 08/05/1968)

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Date: 10/24/2014 _
RE: Sylvia Cobbins, DOB: 08/05/1968, PT lD #35731
To Whom lt l\/lay Concern:

l\/ls. Cobbins is being seen by me for carpal tunnel syndrome. She has had carpal tunnel syndrome for the past 3 years and l
both hands. She returned to work following her surgery Which resulted in the reinjuring of both hands Re-injury is very comrr
return to performing the same tasks that originally caused the injury.

Because of the nature other problem she has impaired grip strength in her hands and is unable to perform certain fine and g

activities i e Writing, gripping or lifting Simply put, l\/ls. Cobbins is no longer able to hold the handle of a vacuum, broom or r
unable to Write.

Please contact me for more information if necessary.

Sincerely,

Electronica|ly Signed by: KlTA WlLLlAl\/|S, MD

 

Encounter ReasonlDate

 

STPS_Saint Thomas Physician Services l Cobbins, Sylvia D, (ID: 35731), D

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Sylvia Cobbins
108 Chestnut Street
Nashville, TN 37210

.'1/15/2011

Patient Name: Syl\/ia Cobbins
DOB: 08/05/1965

To Whom it l\/lay Concern:

l\/ls. Cobbins is unable to partake in GED due to medical illness, specit”icaly intractable carpal tunnel
syndrome.

Sincere|y,

Electronicaiiy Signed by: Robert L. Forti MD /
Nl\/lG 8th Floor

300 20th Ave North

Nashville, TN 372032131 §
Phone: (615)284~1400 i
Fax.‘ (615)284-1420

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STPS_Saint Thornas Physician Services - 300 20th Ave N, NASHVll.l_E TN 37203-2131
COBB|NS, SYLV|A D (id #35731, dob: 08/05/1968)

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Date: 10/24/2014
RE: Sylvia Cobbins, DOB: 08/05/1968, PT lD #35731
To Whom lt Nlay Concern:

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Because of the nature of her problem, she has impaired grip strength' 1n her hands and 13 unable to perform certain fine and g

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unable to write.

Please contact me for more information if necessary.

Sincere|y,

Electronica|ly Signed by: KlTA WlLLlA|\/lS, i\/lD

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Encounter ReasonlDate

 

§TPS_Saint Thomas Physician Services v Cobbins, Sylvia D (lD: 35731),' DW

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